                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN
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JERPAUL D. SPENCER,

                    Plaintiff,
      v.                                           Case No. 16-cv-662-pp

EDWARD A. FLYNN, MICHAEL VAGNINI,
JACOB KNIGHT, JEFFERY KLINE,
PAUL MARTINEZ, GREGORY M. KUSPA,
JESSE BUSSHARDT, MICHAEL VALUCH,
and KEITH GARLAND,

                  Defendants.
______________________________________________________________________________

    DECISION AND ORDER GRANTING PLAINTIFF’S MOTION TO STAY
                  FURTHER PROCEEDINGS (DKT. NO. 86)
______________________________________________________________________________

      On July 6, 2016, Plaintiff Jerpaul D. Spencer, a Wisconsin state prisoner

who is representing himself, filed a complaint under 42 U.S.C. §1983. Dkt. No.

1. The court allowed him to proceed on his Fourth Amendment claims

regarding warrantless searches and a possible City of Milwaukee policy or

custom of allowing, or at least encouraging, illegal searches and seizures. Dkt.

No. 13 at 6.

      On May 21, 2018, the plaintiff filed a second motion to compel

defendants to respond to his discovery requests. Dkt. No. 78. The defendants

asked for an extension of time to file their opposition to that motion, dkt. no.

79; the court granted that motion, dkt. no. 81, and they since have filed their

opposition materials, dkt. nos. 83-84.
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      The plaintiff has filed a motion asking the court to stay proceedings; it

really is a motion for an extension of time for him to file a reply in support of

his motion to compel. Dkt. No. 86. He explains that he gets only two hours per

week in the law library at Green Bay Correctional, and that he has to write out

all of his responses by hand. Id. at 1. He also indicates that he may possibly

have an opportunity to have a lawyer represent him, and he’d like the time to

explore that opportunity. Id. at 2.

      The court will construe plaintiff’s motion to stay proceedings as a motion

for an extension of time, and will grant his request to extend the deadline for

filing his reply by thirty days.

      The court ORDERS that the plaintiff’s motion to stay further

proceedings, which the court construes as a motion for an extension of time, is

GRANTED. Dkt. No. 86.

      The court ORDERS that the plaintiff shall file his reply in time for the

court to receive it by the end of the day on Friday, July 27, 2018.

      Dated in Milwaukee, Wisconsin, this 6th day of July, 2018.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




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